                        EXHIBIT 52
ase 1:17-cv-00061-FYP-GMH Document 37-52 Filed 03/03/21 Page 1 of 2




                            EXCERPTED
 PARHAMOVICH V. IRAN                                   PLA000278
 1:17-CV-00061 (KBJ)
ase 1:17-cv-00061-FYP-GMH Document 37-52 Filed 03/03/21 Page 2 of




                            EXCERPTED
  PARHAMOVICH V. IRAN                              PLA000279
  1:17-CV-00061 (KBJ)
ase 1:17-cv-00061-FYP-GMH Document 37-52 Filed 03/03/21 Page 3 of




                            EXCERPTED
  PARHAMOVICH V. IRAN                            PLA000280
  1:17-CV-00061 (KBJ)
ase 1:17-cv-00061-FYP-GMH Document 37-52 Filed 03/03/21 Page 4 of 2




                            EXCERPTED
 PARHAMOVICH V. IRAN                                PLA000281
 1:17-CV-00061 (KBJ)
ase 1:17-cv-00061-FYP-GMH Document 37-52 Filed 03/03/21 Page 5 of 2




                            EXCERPTED
 PARHAMOVICH V. IRAN                               PLA00028
 1:17-CV-00061 (KBJ)                           PLA000282
se 1:17-cv-00061-FYP-GMH Document 37-52 Filed 03/03/21 Page 6 of

                              I Lost My Love in Baghdad

      see her three or four cimes a week. She'd also visit che bureau when she
      had a chance in che evening. Her security guards would drop her off for
      a few hours, chen pick her up and bring her back co her trailer for IRI's
      midnight curfew.
          Andi fell into her routine. She worked ac che Iraqi parliament-the
      Convention Center-during che day crying co build a media center for
      the Iraqi press. Her predecessor had scarced the project a year earlier but
      it still wasn't even close co being complete. She encountered the common
      frustration in lraq-ic took forever to get even che smallest things done.
      The media center was held up because one of the Iraqi spokespeople did
      not want to give up his large corner office, an office chat the ocher parlia­
      mentarians agreed would make a perfect media center. Then, when they
      finally senled on a floor space for the center, on che second floor, and
      mapped out where computers and dividers would be puc up, the Speaker
      of the House decided co temporarily ban all press from the parliament.
      Still, Andi goc co know Iraqi leaders and helped them send out press
      releases, set up press conferences, and trained chem how to deal wich che
      media. She worked ouc in che mornings, even finding a yoga class co
      attend called Baghdad Yoga. She described her days co me as if she were
      Alice in a disturbed Wonderland, where every conversation cook on che
      air of the Mad Hatter's cea party. I 'd laugh and say what I'd come co say
      a loc to her: "Welcome to Iraq."
          On the evening of Occober 10, I was sining ac my desk in the
      bureau's office when I heard what sounded like a mortar land nearby. I
      ignored it and kepc typing up a story I was working on. Less than a
      minuce passed, and there was another explosion; the windows shook. In
      the next five minutes, there were a series of seven or eight more biases. Ir
      sounded like someone was shelling che hell ouc of the Green Zone.
          I was the only correspondent ac che bureau chac nighc. The ocher per­
      son in che house was a Scottish private security manager who was filling
      in for a few days for a friend of his. He walked into the office and he sug­
      gested we move into che living room, che designated safe area. I brought
      my computer wich me, and chen my phone rang-ic was our Iraqi
      office manager. He cold me he choughc chere was heavy fighting in his

                                          165

 PARHAMOVICH V. IRAN                     EXCERPTED                              PLA000
 1:17-CV-00061 (KBJ)
se 1:17-cv-00061-FYP-GMH Document 37-52 Filed 03/03/21 Page 7 o




                           EXCERPTED
  PARHAMOVICH V. IRAN                              PLA000284
  1:17-CV-00061 (KBJ)
ase 1:17-cv-00061-FYP-GMH Document 37-52 Filed 03/03/21 Page 8 of




                            EXCERPTED
 PARHAMOVICH V. IRAN                                  PLA000285
 1:17-CV-00061 (KBJ)
se 1:17-cv-00061-FYP-GMH Document 37-52 Filed 03/03/21 Page 9 of




                           EXCERPTED
 PARHAMOVICH V. IRAN                                PLA000286
 1:17-CV-00061 (KBJ)
se 1:17-cv-00061-FYP-GMH Document 37-52 Filed 03/03/21 Page 10 of




                           EXCERPTED
 PARHAMOVICH V. IRAN                                 PLA000287
 1:17-CV-00061 (KBJ)
se 1:17-cv-00061-FYP-GMH Document 37-52 Filed 03/03/21 Page 11 o




                           EXCERPTED
 PARHAMOVICH V. IRAN                                PLA000288
 1:17-CV-00061 (KBJ)
e 1:17-cv-00061-FYP-GMH Document 37-52 Filed 03/03/21 Page 12 o




                          EXCERPTED
 PARHAMOVICH V. IRAN                              PLA000289
 1:17-CV-00061 (KBJ)
e 1:17-cv-00061-FYP-GMH Document 37-52 Filed 03/03/21 Page 13 o




                          EXCERPTED
 PARHAMOVICH V. IRAN                               PLA000290
 1:17-CV-00061 (KBJ)
e 1:17-cv-00061-FYP-GMH Document 37-52 Filed 03/03/21 Page 14 o




                          EXCERPTED
 PARHAMOVICH V. IRAN                               PLA000291
 1:17-CV-00061 (KBJ)
Case 1:17-cv-00061-FYP-GMH Document 37-52 Filed 03/03/21 Page 15 of 23




                              EXCERPTED
 PARHAMOVICH V. IRAN                                      PLA000292
 1:17-CV-00061 (KBJ)
se 1:17-cv-00061-FYP-GMH Document 37-52 Filed 03/03/21 Page 16 of




                           EXCERPTED
 PARHAMOVICH V. IRAN                                 PLA000293
 1:17-CV-00061 (KBJ)
e 1:17-cv-00061-FYP-GMH Document 37-52 Filed 03/03/21 Page 17 o




                          EXCERPTED
 PARHAMOVICH V. IRAN                               PLA000294
 1:17-CV-00061 (KBJ)
se 1:17-cv-00061-FYP-GMH Document 37-52 Filed 03/03/21 Page 18 o




                           EXCERPTED
  PARHAMOVICH V. IRAN                               PLA000295
  1:17-CV-00061 (KBJ)
se 1:17-cv-00061-FYP-GMH Document 37-52 Filed 03/03/21 Page 19 o




                           EXCERPTED
  PARHAMOVICH V. IRAN                               PLA000296
  1:17-CV-00061 (KBJ)
e 1:17-cv-00061-FYP-GMH Document 37-52 Filed 03/03/21 Page 20 o




                          EXCERPTED
 PARHAMOVICH V. IRAN                              PLA000297
 1:17-CV-00061 (KBJ)
e 1:17-cv-00061-FYP-GMH Document 37-52 Filed 03/03/21 Page 21 o




                          EXCERPTED
 PARHAMOVICH V. IRAN                               PLA000298
 1:17-CV-00061 (KBJ)
e 1:17-cv-00061-FYP-GMH Document 37-52 Filed 03/03/21 Page 22 o




                          EXCERPTED
 PARHAMOVICH V. IRAN                              PLA000299
 1:17-CV-00061 (KBJ)
e 1:17-cv-00061-FYP-GMH Document 37-52 Filed 03/03/21 Page 23 o




                          EXCERPTED
 PARHAMOVICH V. IRAN                               PLA000300
 1:17-CV-00061 (KBJ)
